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4                              IN THE UNITED STATES DISTRICT COURT

5                           FOR THE EASTERN DISTRICT OF CALIFORNIA

6
7      UNITED STATES OF AMERICA,                          Case No.: 1:19-cr-00015 DAD-BAM

8                             Plaintiff,                  ORDER OF RELEASE

9            v.

10     MARIA LUISA MORENO,

11                            Defendant.

12
13           IT IS HEREBY ORDERED that defendant Maria Luisa Moreno having been found not
14    guilty by verdict of the jury, shall be and is released from Pretrial Services supervision.
15
16    IT IS SO ORDERED.

17       Dated:     September 30, 2019
                                                         UNITED STATES DISTRICT JUDGE
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